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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DIANE MATTINGLY and ANTON BROWN,                            )
                                                            )
                              Plaintiffs,                   )
                                                            )
       v.                                                   ) No.
                                                            )
                                                            )
UNITED WINTHROP TOWER COOPERATIVE, INC.,                    )
                                                            )
                              Defendant.
                                                            )


                                            COMPLAINT

       Diane Mattingly and Anton Brown, for their Complaint against United Winthrop Tower

Cooperative, Inc. (“United Winthrop”), allege as follows:

I.     INTRODUCTION

       1.      Diane Mattingly and Anton Brown are people with disabilities who have lived

together as life partners for 20 years at the United Winthrop cooperative building. As a result of

Ms. Mattingly’s disability — severe epilepsy including grand mal seizures — they have

requested that United Winthrop make reasonable accommodations to its rules and policies to

accommodate some of the known side effects of the medications she is required to take. United

Winthrop has refused to do so. United Winthrop has refused even to engage in a dialogue about

such accommodations, in violation of the Fair Housing Amendments Act (the “FHA”) and the

Rehabilitation Act.

       2.      Since October 2011, United Winthrop has engaged in a continuing course of

conduct in violation of the Act by threatening Ms. Mattingly and Mr. Brown with eviction based

solely on allegations that Ms. Mattingly has intermittently exhibited certain unusual behavior,

such as moving another co-op member’s laundry in the laundry room, arguing with United
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Winthrop’s building manager, and having lengthy discussions with the building security guard.

In October 2011, United Winthrop requested that Mr. Brown attend a “hearing” before its Board

of Directors about Ms. Mattingly’s alleged behavior.

        3.     United Winthrop was informed by Ms. Mattingly and Mr. Brown’s legal counsel

that to the extent that Ms. Mattingly had engaged in any unusual behavior, it was the result of the

medications that she was taking to control her epilepsy. The medications that Ms. Mattingly is

required to take have significant side effects, including anxiety, agitation or hostility, difficulty

concentrating, moodiness, nervousness, as well as forgetfulness. United Winthrop’s response to

this information was to question Ms. Mattingly’s disability and to put Ms. Mattingly and Mr.

Brown on “probation,” leaving them under the constant threat of immediate eviction by United

Winthrop.

II.     JURISDICTION AND VENUE

        4.     This Court has original jurisdiction over the FHA and the Rehabilitation Act

claims of this action under 28 U.S.C. § 1331 and 42 U.S.C. § 3613(a), and supplemental

jurisdiction over the state law claim under 28 U.S.C. § 1367(a). Plaintiff’s claims for declaratory

and injunctive relief are authorized under 28 U.S.C. §§ 2201-02 and 42 U.S.C. § 3613(c)(l).

        5.     Venue is proper in the Northern District of Illinois under 28 U.S.C. § 1391(b),

because Defendant resides there and because all of the events or omissions giving rise to

Plaintiffs’ claims arose there.

III.    PARTIES

        6.     Ms. Mattingly and Mr. Brown live together with their 20-year-old son,

Christopher Brown, in apartment 1908 at United Winthrop Towers Cooperative located at 4848

N. Winthrop Towers, Chicago, Illinois. Mr. Brown has lived at this cooperative for the past 25

years. Ms. Mattingly has lived there for the past 20 years.

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       7.      United Winthrop is a not-for-profit Illinois corporation that operates as a housing

cooperative which provides federally funded, project based Section 8 housing (42 U.S.C. §

1437(f)). United Winthrop is governed by a Board of Directors elected by United Winthrop’s

members.     Under Illinois law, a cooperative is considered a “hybrid,” in that cooperative

members own stock in the cooperative and also have a leasehold interest.

IV.    FACTS

       A.      Diane Mattingly and Anton Brown’s Housing and Disabilities

       8.      Ms. Mattingly and Mr. Brown are members of United Winthrop. Until 2011, they

lived at United Winthrop without incident. As members of United Winthrop, Ms. Mattingly and

Mr. Brown own a share of United Winthrop, paying a monthly membership charge to cover their

household’s share of any debt service, operating costs, and reserve contributions. They renew

their membership in United Winthrop by signing an annual reauthorization agreement

(sometimes referred to as a “lease”). Ms. Mattingly and Mr. Brown signed their reauthorization

agreement with United Winthrop on or around October 13, 2011, and submitted the agreement to

United Winthrop’s building manager, Carolyn Bridges.

       9.      The Mattingly/Brown household’s total 2011 income is $19,068. This amount is

classified as “extremely low income” by the United States Department of Housing and Urban

Development. As such, they qualify to have part of their membership charge reimbursed to

United Winthrop by the federal government.

       10.     Ms. Mattingly has a severe case of epilepsy, including grand mal seizures. Mr.

Brown relies on a wheelchair for mobility and also has epilepsy.

       11.     Ms. Mattingly requires several different medications to keep her epileptic

symptoms under control. Recently, she was placed on two new medications, levetiracetam and

oxcarbazepine. Prior to these new medications, Ms. Mattingly’s grand mal seizures were not

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controlled and she had one to two seizures every two to three hours of every day. The new

medications, while more effective at controlling her seizures, have significant side effects,

including anxiety, agitation or hostility, difficulty concentrating, moodiness, nervousness, as well

as forgetfulness. (See National Library of Medicine, Consumer Medication Information for

levetiracetam and oxcarbazepine, attached as Exhibit 1.)

       12.      Due to her epilepsy and the significant side effects of the medications, Ms.

Mattingly is dependent on Mr. Brown’s care.

       B.      The United Winthrop Board of Directors “Hearing” Regarding Ms.
               Mattingly’s Alleged Behavior

       13.     On October 1, 2011, Mr. Brown attempted to pay the household’s monthly

membership payment to United Winthrop.           United Winthrop refused to accept their payment.

Prior to October 2011 the Mattingly/Brown household had never missed a membership payment.

       14.     On or about October 23, 2011, Ms. Mattingly and Mr. Brown received a notice of

a Board “hearing” purportedly to address complaints about incidents in which Ms. Mattingly had

allegedly exhibited unusual behavior. (See Notice to Mattingly/Brown from United Winthrop,

attached as Exhibit 2.)

       15.     The first incident allegedly occurred in the summer or fall of 2011. Ms. Mattingly

encountered building manager Carolyn Bridges in the United Winthrop building elevator. Ms.

Bridges had in the past suggested that Ms. Mattingly, due to her disability, required assistance

with housekeeping (even though the Mattingly/Brown household has passed every cleaning

inspection conducted by United Winthrop). In the elevator, Ms. Bridges raised this issue again

with Ms. Mattingly. Ms. Mattingly was upset by this, and she and Ms. Bridges allegedly argued.

       16.     The next alleged incident occurred in the building’s laundry room. This laundry

room has only one table for folding laundry. Sometime in the fall of 2011, Ms. Mattingly was in


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the laundry room. Ms. Mattingly allegedly moved some of another member’s laundry to a

different location on the table. The other member objected and the two argued.

       17.     United Winthrop also alleged that Ms. Mattingly occasionally dumps her refuse

from a garbage bag directly into the garbage chute, and then brings the bag back to her

apartment, rather than tossing the bagged refuse down the chute.

       18.     Finally, United Winthrop alleged that Ms. Mattingly has lengthy conversations in

the lobby with the security guard of the building.

       19.     On October 26, 2011, the United Winthrop Board of Directors held a meeting to

address the complaints concerning Ms. Mattingly.

       20.     The meeting convened by United Winthrop’s Board of Directors was conducted

in the Hibiscus Room, which is located in the lower level of the United Winthrop building. The

primary entrance of the room can only be reached by going down a flight of stairs. Because Mr.

Brown relies on a wheelchair for mobility, he was forced to take a circuitous route through the

building’s garage to reach the room. As a result, Mr. Brown arrived late to the meeting. United

Winthrop’s attorney harangued Mr. Brown about his late arrival. United Winthrop’s attorney

went so far as to ask Mr. Brown if he expected special treatment because he had a disability.

       21.     At this meeting, United Winthrop informed Mr. Brown that it was tired of dealing

with Ms. Mattingly’s problems and confusion.         At the conclusion of the meeting, United

Winthrop stated that the only way Mr. Brown and his son could stay at the cooperative would be

if Ms. Mattingly left.

       22.     After the October 26, 2011 meeting, United Winthrop continued to refuse to

accept monthly member payments from Ms. Mattingly and Mr. Brown, and has denied them

extermination and repair services.



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        23.     On December 14, 2011, counsel for Ms. Mattingly and Mr. Brown sent a letter to

United Winthrop’s counsel notifying United Winthrop of its duties under the Fair Housing

Amendments Act, 42 U.S.C. § 3604(f), to provide reasonable accommodations to Ms. Mattingly

and Mr. Brown.       (See Plaintiffs’ December 14, 2011 Demand Letter to United Winthrop,

attached as Exhibit 3.)

        24.     United Winthrop denied any such duty.         (See United Winthrop’s counsel’s

December 16, 2011 letter, attached as Exhibit 4.)

        25.     On January 27, 2012, Mr. Brown received a letter from United Winthrop. The

letter notified Mr. Brown that he and all members of his household were on probation. The

probation was conditioned on their not engaging in any behavior that the Board considered an

“incident.” The letter warned Mr. Brown that if there were “any more incidents involving

yourself, members of your households or guest[s] to your household United Winthrop will move

for immediate eviction.” (See United Winthrop’s January 27, 2012 letter, attached as Exhibit 5.)

        26.     The letter also conditioned the probation on Ms. Mattingly and Mr. Brown

making the monthly member payments that United Winthrop had previously refused.

                              COUNT I
    VIOLATIONS OF THE FAIR HOUSING AMENDMENTS ACT 42 U.S.C § 3604(f)

        27.     Ms. Mattingly and Mr. Brown re-allege and incorporate Paragraphs 1 – 26 as if

set forth fully herein.

        28.     The FHA prohibits a housing provider from discriminating against any disabled

person or any individual associated with that person “in the terms, conditions, or privileges of

sale or rental of a dwelling, or in the provision of services or facilities in connection with such

dwelling.” 42 U.S.C. § 3604(f)(2).




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        29.     Discrimination includes “a refusal to make reasonable accommodations in rules,

policies, practices, or services, when such accommodations may be necessary to afford such

person equal opportunity to use and enjoy a dwelling….” 42 U.S.C. § 3604(f)(3)(B).

        30.     Ms. Mattingly’s severe epilepsy requires her to take medications that cause

anxiety, agitation, difficulty with comprehension and concentration, and irritability.

        31.     United Winthrop has violated the law by placing Plaintiffs on probation and

threatening them with eviction solely on the basis of Ms. Mattingly’s disability-related behavior.

        32.     Ms. Mattingly has no history of violent or criminal behavior, and Ms. Mattingly’s

disability-related behavior never presented a physical threat to anyone.

        33.     United Winthrop has violated the law by refusing to engage in any dialogue with

Plaintiffs about accommodations that might be made to United Winthrop’s rules.

        34.     United Winthrop has violated the law by failing to provide Ms. Mattingly and Mr.

Brown an opportunity to cure this non-violent behavior.

        35.     United Winthrop has violated 42 U.S.C. § 3604(f)(3)(B) by refusing to

accommodate Ms. Mattingly’s disability-related behavior.

                              COUNT II
     VIOLATIONS OF THE FAIR HOUSING AMENDMENTS ACT 42 U.S.C § 3617

        36.     Ms. Mattingly and Mr. Brown re-allege and incorporate Paragraphs 1 – 35 as if

set forth fully herein.

        37.     Under the FHA, it is “unlawful to coerce, intimidate, threaten, or interfere with

any person in the exercise or enjoyment of, or on account of his having exercised or enjoyed, or

on account of his having aided or encouraged any other person in the exercise or enjoyment of,

any right granted” by the FHA. 42 U.S.C. § 3617.




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        38.     In an attempt to coerce Mr. Brown into expelling his partner of 20 years from

their home, United Winthrop presented him with the Hobson’s choice of expelling Ms. Mattingly

or being evicted himself, along with the couple’s son. Moreover, United Winthrop has withheld

services from Ms. Mattingly and Mr. Brown since October 2011.

        39.     These actions by United Winthrop, designed to intimidate and coerce Ms.

Mattingly and Mr. Brown to leave, are violations of 42 U.S.C. § 3617.

        40.     At all times relevant to this action, United Winthrop has acted intentionally,

willfully and/or in reckless disregard for the rights of Ms. Mattingly and Mr. Brown.

                                        COUNT III
                          VIOLATIONS OF THE REHABILITATION ACT

        41.     Ms. Mattingly and Mr. Brown re-allege and incorporate Paragraphs 1 – 40 as if

set forth fully herein.

        42.     Ms. Mattingly and Mr. Brown’s unit at United Winthrop is subsidized housing

and receives federal funding. Because the building receives federal funding, it must comply with

Section 504 of the Rehabilitation Act (29 U.S.C. § 794).

        43.     Section 504 and its implementing regulations prohibit discrimination based on

disability and require housing entities to provide reasonable accommodations to residents with

disabilities.   29 U.S.C. § 794; 24 C.F.R. § 8.33.         Thus, a housing provider "shall make

reasonable accommodations to the known physical or mental limitations" of its residents. 24

C.F.R. § 8.11; See 24 C.F.R. § 8.33. By refusing to provide reasonable accommodations to the

Ms. Mattingly and Mr. Brown, United Winthrop has violated Section 504 of the Rehabilitation

Act.




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                                         COUNT IV
                                    BREACH OF CONTRACT

        44.      Ms. Mattingly and Mr. Brown re-allege and incorporate Paragraphs 1 – 43 as if

set forth fully herein.

        45.      United Winthrop and Ms. Mattingly and Mr. Brown entered into the United

Winthrop Tower Occupancy Agreement (See “the Occupancy Agreement,” attached as Exhibit

6.) Article 12 of the Occupancy Agreement includes a provision which states: “[t]he Member

expressly agrees that there exists under this Occupancy Agreement a landlord tenant

relationship….”

        46.      Ms. Mattingly and Mr. Brown have performed their obligations under the

Occupancy Agreement.

        47.      United Winthrop has breached the Occupancy Agreement including as follows:

              a. Refusing to accept monthly payments from Ms. Mattingly and Mr. Brown;

              b. Threatening to evict Ms. Mattingly and Mr. Brown without a proper basis;

              c. Placing Ms. Mattingly and Mr. Brown on probation without a proper basis;

              d. Threatening to evict Ms. Mattingly and Mr. Brown for alleged behavior that is the

                 result of Ms. Mattingly’s disabilities;

              e. Placing Ms. Mattingly and Mr. Brown on probation for alleged behavior that is

                 the result of Ms. Mattingly’s disabilities; and

              f. Refusing to provide maintenance and extermination services.

        48.      Ms. Mattingly and Mr. Brown have incurred injury, and are at risk of continued

and further injury, as a result of United Winthrop’s breaches of the Occupancy Agreement.




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       WHEREFORE, Plaintiffs respectfully request that this Court:

       A.        Declare that Defendant’s acts and omissions constitute illegal discrimination

under the Fair Housing Amendments Act, 42 U.S.C. § 3604(f) and illegal coercion under 42

U.S.C. § 3617;

       B.        Issue a permanent injunction requiring Defendant to:

                 i.     Immediately rescind and terminate the probation that Defendant has

                 placed upon all members of the Mattingly/Brown household;

              ii.       Develop and implement a procedure that provides for:

                        a.      Notification to Ms. Mattingly and Mr. Brown of any alleged

                 infraction of United Winthrop rules, including:

                                (i)     Notice of Ms. Mattingly and Mr. Brown’s right under the

                                Fair Housing Amendments Act and the Rehabilitation Act to

                                request a reasonable accommodation;

                                (ii)    Allowance of a reasonable period time of no less than 30

                                days to cure any alleged infraction;

                                (iii)   If no cure is or can be accomplished, allowance of a

                                reasonable period of time of no less than 90 days to submit a

                                request for a reasonable accommodation in writing;

                                (iv)    Notice that Ms. Mattingly and Mr. Brown have the option

                                to obtain legal assistance to prepare such a request; and

                                (v)     Notice that Ms. Mattingly and Mr. Brown have the option

                                to obtain legal assistance to protect other rights granted by the Fair

                                Housing Amendments Act, the Rehabilitation Act, or by statute or

                                Constitution of the State of Illinois or of the United States.

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                             b.       If United Winthrop refuses a request from Ms. Mattingly and Mr.

                    Brown for a reasonable accommodation that has not arisen from felonious

                    criminal activity on the part of Ms. Mattingly, Mr. Brown, or any other member

                    or guest of their household, United Winthrop must prior to any eviction

                    proceeding:

                                      (i)      Put the refusal in writing, including a full and

                                      comprehensive explanation for such refusal; and

                                      (ii)     Offer to mediate the matter before an independent

                                      mediator.1

            C.      Award Plaintiffs all appropriate and allowable damages resulting from

Defendant’s illegal discrimination;

            D.      Award Plaintiffs all appropriate and allowable damages for Defendant’s breach of

contract;

            E.      Award Plaintiffs their reasonable attorneys’ fees and costs pursuant to 42 U.S.C. §

3613(c)(2); and

            F.      Grant any other relief this Court deems appropriate.

                                         DEMAND FOR JURY TRIAL

            Plaintiffs request a trial by jury.




1
            For example, the Center for Conflict Resolution, based in Chicago, Illinois, provides pro bono mediation
services.

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Dated: February 29, 2012                 Respectfully submitted,

                                         DIANE MATTINGLY and ANTON BROWN



                                         By:    /s/ Greg Shinall
                                                     One of their attorneys

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From:                      HHFisher1@aol.com
Sent:                      Friday, December 16, 2011 9:25 AM
To:                        Mark Frazzetto
Subject:                   Fwd: Anton Brown\Diane Mattingly\United Winthrop Towers




From: HHFisher1@aol.com
To: MFrazzetto@accessliving.orgxxxxx
BCC: aqueen4848@yahoo.com, unitedwinthrop@sbcglobal.net, ivydomenjoud@aol.com,
ifisher951@aol.com
Sent: 12/16/2011 9:20:15 A.M. Central Standard Time
Subj: Re: Anton Brown\Diane Mattingly\United Winthrop Towers

Mr. Frazzetto

I regret I was unable to meet your schedule of yeterday; but it is probably better if we can frame
the issues in writing with respect to the alleged violations of Federal law described in your six
page undated letter addressed to me and faxed dated December 14, 2011 completed at 11.26
am.

I have re-read your letter in order to be sure I comprehended it and did not miss any salient
items in it.

In doing so I do not see that it describes any violations under the Fair Housing Act or any other
provisions under the National Housing Act,which, according to my long standing understanding,
is that the complainant must demonstrate that there was treatment of the complainant that was
different than treatment afforded others who do not share the complainant's protected class; and
if such demonstration is made, then the burden shifts to the respondent to show that there was
non pre-textual justification for the disparate treatment.

I do not find anything in your letter to indicate that any other member of United Winthrop Tower
Cooperative would have been treated in any other manner than was afforded Mr. Brown or Ms.
Mattingly. We, therefore, do not even reach the need to justify my client's conducting a hearing,
pursuant to its By Law duties and authority, to determine whether the safety, peace and quiet of
the Cooperative building and other members residing there required the termination of their
membership. Mr. Brown and Ms. Mattingly were accorded a hearing at which, again under their
By Law authority, acted as the fact finding body and I was charged by Cooperative President to
act as the "prosecutor", in which role I undertook, with prior announcement, to give them every
latitude to explain to the Board why their membership should not be terminateds; and they each
took advantage of the opportunity, together with a ONE representative and two observers..

During the hearing it became apparent to me that Ms. Mattingly was the cause of the serious
problems in the building and not Mr. Brown; and this was pointed out to both of them. Later, Mr.
Brown spontaneously offered to have Ms. Mattingly to move in order to resolve the issues. He
was the following day asked about his offer, and he recanted. That possible solution has not
been pursued further.

None of my client's employees or members of its Board knew of either of their disabilities other
than Mr. Brown is in a wheel chair. Management, but not the Board, knew their income came
from disability benefit payments..
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Payments are not being accepted from the members at this time pending a decision by the
Board on the issues before it. Acceptance of payment could be construed as a waiver of any
rights my client may have to terminate occupancy under Illinois law.

No decision has been reached as of yet. So that any statement regarding termination or
reinstatement is premature.

The Members in question received a six day notice of the hearing, which is standard timing given
to others. Some may have gotten 7 day notices.

Routinely, when a new member executes an occupancy agreement in duplicate. If Mr. Brown
and/or Ms. Mattingly misplaced theirs, they never made a request for a copy which would have
been provided.

Re-certification process was handled as with any other member occupant except that a second
copy of the 50059 form had to be give to Mr. Brown. The executed form has been processed
and a copy being returned to Mr. Brown.

The above commentary is not an exhaustive response to your letter and I am asking my client's
management to review carefully to make sure I have I been involved not transmitted any
misunderstandings of the actual facts. If so I will notify you promptly.

If you have any facts that there had been any disparate treatment of these members, please call
it to our attention so it also can be evaluated.

But, again the Board has not made any decision as yet and basic issues you raise, if
meritorious, is quite premature.

We look further to further discussion of the matter as it has developed.

Herbert H. Fisher
Vonnage 312 335 0448
Work order requests have been handled according to standard building routine, as has been
exterminating.

In a message dated 12/14/2011 2:29:51 P.M. Central Standard Time,
MFrazzetto@accessliving.org writes:

Herbert,

If I may call you Herbert, I will be leaving the office shortly to attend to another
matter. If you wish to speak with me in person, my schedule tomorrow morning is as
follows: I should be in the office at around 9:00 am cst, be at my desk till around 9:45
cst, then be back at my desk at 11:00 am.

Thank you,

Mark Frazzetto




From: HHFisher1@aol.com [mailto:HHFisher1@aol.com]
Sent: Wednesday, December 14, 2011 1:41 PM
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To: Mark Frazzetto
Subject: Re: Anton Brown\Diane Mattingly\United Winthrop Towers




Mr. Frazzetto




I acknowledge receipt of this fax. I am ;presently working from another location other
than my office. My office has the fax, is scanning it and mailing it to me.




I am hopeful so being able to respond before the end of the day, or the latest tomorrow
morning.




Herbert H. Fisher

Vonnage line : 312 335 0448




In a message dated 12/14/2011 11:50:59 A.M. Central Standard Time,
MFrazzetto@accessliving.org writes:

Mr. Fisher, I have faxed a copy of my demand letter in the above
referenced matter to your office. Therefore, a hard copy of this
correspondence is now available to you.



Mark Frazzetto

Volunteer Staff Attorney Civil Rights Department

Access Living of Metropolitan Chicago

mfrazzetto@accessliving.org

ph: 312.640.2179
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